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 1                                                                       Judge Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
10    UNITED STATES OF AMERICA,
                                                         CASE NO. CR14-0165RAJ
11                             Plaintiff
12                       v.                              ORDER OF FORFEITURE
13    CRAIG GREER,
14                             Defendant.
15
16           THIS MATTER having come before the Court on the government’s motion for
17 entry of an order of forfeiture and and the Court having reviewed the motion and the
18 record in the case, and being fully advised, finds,
19           On December 18, 2015, Defendant CRAIG GREER entered into a Plea
20 Agreement with the United States in which the Defendant entered a guilty plea to the
21 offense charged in Count 1 of the Indictment, Conspiracy to Distribute Controlled
22 Substances by Means of Internet, in violation of Title 21, United States Code,
23 Sections 823(f), 841(h)(1), 841(b)(1)(E), and 846, and further agreed to forfeit to the
24 United States a money judgment totaling A Money Judgment totaling Eighty-Eight
25 Thousand, Six Hundred Thirty-Five Dollars ($88,635.00), representing proceeds obtained
26 as a result of the offense charged in Count 1of the Indictment, and
27           Rule 32.2(c)(1) provides that “no ancillary proceeding is required to the extent that
28 the forfeiture consists of a money judgment,”
     ORDER OF FORFEITURE - 1                                                   UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
     U.S. v. Craig Greer, (Case No. CR14-0165RAJ)                               SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
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 1           NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND
 2 DECREED that the Defendant shall forfeit to the United States:
 3           A Money Judgment totaling Eighty-Eight Thousand, Six Hundred Thirty-Five
             Dollars ($88,635.00), representing proceeds obtained as a result of the offense
 4
             charged in Count 1of the Indictment,
 5
 6 which is subject to forfeiture pursuant to Title 21, United States Code, Section 853.
 7           IT IS FURTHER ORDERED that the United States District Court shall retain
 8 jurisdiction in the case for the purpose of enforcing this Order;
 9           IT IS FURTHER ORDERED that pursuant to Rule 32.2(b)(4), this Order of
10 Forfeiture shall become final as to the defendant as of the time of sentencing, and shall be
11 made part of the sentence and included in the judgment;
12           IT IS FURTHER ORDERED that the United States may, at any time, move
13 pursuant to Rule 32.2(e) to amend this Order of Forfeiture to substitute property having a
14 value not to exceed $88,635.00 to satisfy the money judgment in whole or in part; and
15           The Clerk of the Court is directed to send a copy of this Order of Forfeiture to all
16 counsel of record.
17           IT IS SO ORDERED,
18           DATED this 8th day of April, 2016.
19
20                                                      A
21                                                      The Honorable Richard A. Jones
22                                                      United States District Judge

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     ORDER OF FORFEITURE - 2                                                   UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, SUITE 5220
     U.S. v. Craig Greer, (Case No. CR14-0165RAJ)                               SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
